                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                  ASHEVILLE DIVISION
                            DOCKET NO. 1:15-cr-00071-MOC-DLH

 UNITED STATES OF AMERICA,                     )
                                               )
                                               )
                                               )
 Vs.                                           )                      ORDER
                                               )
 WADE HENDERSON,                               )
                                               )
                  Defendant.                   )



       THIS MATTER is before the Court on review of the court’s Inactivity Report. Review

of that report reveals that no activity has occurred since May 13, 2016, when this court conducted

a status of counsel hearing. This case will now move forward to sentencing expeditiously.



                                          ORDER

       IT IS, THEREFORE, ORDERED that defendant file his Objections, if any, to the Draft

Presentence Report within 14 days, USPO shall submit a Final PSR within 7 days of the filing of

any objections, and the Clerk of Court shall place this matter on for sentencing within 7 days of

the filing of the Final PSR.




 Signed: March 16, 2017




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